MAP NUM"ER NINE (9)

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LEGEND

Watershed b&cundery

County Line

Principal and Intermittent

Streams

R4W

R3W

R2W

R!W

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R2E

R3E R4E

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OFFICE OF GROUND WATER RESOURCES
MB,CAMPEN, OCEANSIDE CALIF.

Elsinore San Jacinto
33°30' °
San Luis Rey Ramona SANTA MARGARITA - TEMECULA
Lo 1 2°34 5 6 7 RIVER WATERSHED
\ i . U.S. Geolegical Survey eR

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Quadrangle index Map
Data Compiled from above Maps

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Compiled and drawn by J.F. Clement, Capt. USMCR

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